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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------- X
                                         :
 UNITED STATES OF AMERICA,               :
                                         :
                -v-                      :           22cr105 (DLC)
                                         :
 JAMES VELISSARIS,                       :            OPINION AND
                                         :               ORDER
                           Defendant.    :
                                         :
 --------------------------------------- X

APPEARANCES:

For the United States of America:
Margaret Graham
U.S. Attorney’s Office, SDNY
One St. Andrew’s Plaza
New York, NY 10007

For the defendant:
Michelle N. Bradford
Michael A. Battle
William R. Martin
David S. Slovick
Erin C. Steele
Barnes & Thornburg LLP
555 12th Street NW
Suite 1200
Washington, DC 20004

DENISE COTE, District Judge:

     On November 21, 2022, the defendant pled guilty to one

count of securities fraud in violation of 15 U.S.C. §§ 78j(b)

and 78ff, 17 C.F.R. § 240.10b-5, and 18 U.S.C. § 2.         On April 7,

2023, the defendant was sentenced principally to a term of 180

months’ imprisonment.    That same day, the Court ordered the
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defendant to pay restitution, but deferred until a later date

the final determination of the appropriate restitution amount.

     Two victims of the defendant’s fraudulent scheme seek

restitution -- the Diversified Alpha Fund (“DAF”) in the amount

of $59,152,245.00 and the Volatility Alpha Fund (“VAF”) in the

amount of $67,129,126.02.     The defendant opposes the entry of

restitution.   This Opinion addresses the defendant’s objection

to the award of restitution with one exception.        A separate

order will address any objection that may by made to the

reasonableness of the amount of attorneys’ fees that may be

awarded to the two victims.


                              Background

     The Court presumes familiarity with the prior Opinions

issued in this case.    United States v. Velissaris, 22cr105

(DLC), 2023 WL 3018513 (S.D.N.Y. Apr. 20, 2023); United States

v. Velissaris, 22cr105 (DLC), 2023 WL 2875487 (S.D.N.Y. Apr. 10,

2023); United States v. Velissaris, 22cr105 (DLC), 2022 WL

17076747 (S.D.N.Y. Nov. 18, 2022); United States v. Velissaris,

22cr105 (DLC), 2022 WL 2392360 (S.D.N.Y. July 3, 2022).          Only

those facts relevant to the issue of restitution are summarized

below.

     On February 16, 2022, James Velissaris was charged in a

six-count Indictment with securities fraud and obstruction of an


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SEC investigation.   According to the Indictment, Velissaris

engaged in an ongoing scheme to defraud investors while working

as the Chief Investment Officer of Infinity Q Capital Management

LLC (“Infinity Q”), an investment adviser.

     Velissaris’s scheme can be summarized as follows.          During

the relevant time, Infinity Q managed the DAF and the VAF

(together, the “Funds”).    The Funds’ portfolios included over-

the-counter (“OTC”) derivatives.       Infinity Q and Velissaris

represented to investors that Infinity Q used an independent

service called the Bloomberg Valuation Service (“BVAL”) to value

the OTC derivative positions held by the Funds, without any

substantive input from Infinity Q.       Contrary to these

representations, however, Velissaris manipulated the BVAL

calculations to inflate the values of the derivative positions.

His alterations included inputting into BVAL terms for certain

positions that differed from the agreed-upon terms in their term

sheets and altering the parameters of the BVAL tools so that the

tools would return inflated values for the positions.

Velissaris’s alterations resulted in an increased overall net

asset value (“NAV”) for the Funds and thus larger management and

performance fees for Velissaris.




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I.   Procedural History

     A grand jury returned an Indictment on February 16, 2022,

charging Velissaris with securities fraud, investment adviser

fraud, wire fraud, false statements to an accountant, conspiracy

to obstruct an SEC investigation, and obstruction of an SEC

investigation.   On February 25, Velissaris entered a plea of not

guilty, and trial was set for November 28.

     On November 21, three days after the final pretrial

conference and one week before trial was set to commence, the

defendant pled guilty to the securities fraud count in the

Indictment.   One day before the defendant changed his plea, the

parties submitted a plea agreement executed by the defendant,

one of his attorneys, and representatives of the Government (the

“Plea Agreement”).   The Plea Agreement provides in pertinent

part that Velissaris

     agrees to make restitution in an amount ordered by the
     Court, pursuant to Title 18, United States Code,
     Sections 3663, 3663A, and 3664. The parties agree,
     however, that the existence of a payment plan set by
     the Court will not bar Governmental collection efforts
     against any of the defendant’s available assets.

(Emphases supplied.)

     In light of this portion of the Plea Agreement, the Court,

during the defendant’s change of plea proceeding on November 21,

asked the defendant if he understood that “there may . . . be

requirements of forfeiture and restitution” in connection with


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his plea.    The defendant acknowledged that he understood.          After

determining that there was a sufficient factual predicate for

the defendant’s plea of guilty and that he was entering the plea

knowingly and voluntarily, the Court accepted the plea of guilty

to the securities fraud count of the Indictment.           Sentencing was

set for March 3, 2023.

       On February 8, 2023, the parties submitted a joint request

to adjourn the sentencing date in part because the presentence

report was delayed.     Based on this and other requests for

adjournments, the sentencing was ultimately adjourned to April

7.

       The Probation Department’s final presentence report (the

“PSR”) was filed on February 28.         The PSR acknowledged that, in

the Plea Agreement, “the defendant agreed to make restitution in

an amount ordered by . . . the Court.”         It nonetheless stated

that

       [a]lthough restitution should be ordered in this case
       under Title 18, the Government advised that they will
       not be seeking restitution. According to the
       Government, the offense involved dozens of investors
       in the Hedge fund and likely thousands in the Mutual
       fund, and it would be impractical to seek restitution
       in light of the parallel liquidation of funds being
       overseen by the SEC and other entities. Further, the
       Government informed that seeking restitution could
       create inconsistencies with the liquidation
       proceedings. Pursuant to 18 U.S.C. § 3663A(c)(3)(B),
       restitution shall not apply if the Court finds that
       determining complex issues of fact related to the
       cause or amount of the victims’ losses would

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     complicate or prolong the sentencing process to a
     degree that the need to provide restitution to any
     victim is outweighed by the burden of the sentencing
     process.

     On March 24, 2023, the defendant, having retained new

counsel, filed his sentencing submissions, and also moved to

withdraw his guilty plea.     In a letter to the Government dated

March 30, the Special Litigation Committee (“SLC”) of the Board

of the Trust for Advised Portfolios (“TAP”), of which the DAF is

a series portfolio, requested that the Government seek

restitution on behalf of the DAF. 1     The Government filed its

sentencing submissions the following day.       The Government’s

sentencing memorandum explained that

     the Government wishes to clarify that at the April 7
     sentencing, it will be seeking both restitution and
     forfeiture, which is contrary to the language in the
     PSR that says it will be seeking forfeiture alone.
     The Government is currently seeking additional
     information about the proper restitution amount and
     will either submit additional details in advance of
     the April 7 sentencing, or will ask the Court to enter
     an order of restitution and determine the precise
     amount within the following 90 days, as provided by 18
     U.S. Code § 3664(d)(5).

(Emphases supplied.)




1 The SLC of TAP submitted a supplementary letter on behalf of
the DAF to the Government on April 6. Later, on May 30,
Infinity Q submitted a letter to the Government requesting
restitution on behalf of the VAF. The contents of each of these
letters, which outline the losses incurred by the DAF and the
VAF, are described in the following section.

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     On April 7, the defendant’s motion to withdraw his guilty

plea was denied.   After this motion was denied, the Court

sentenced the defendant.    During the sentencing proceeding, the

Court noted that “[a]t one point, there was some

discussion . . . of restitution” and asked to hear from the

Government on the issue.    The Government responded:

     Your Honor, yes, there was an initial letter from the
     TAP. We have since received an additional letter
     yesterday that we have not shared with the Court,
     because we would ask the Court to simply enter
     restitution as part of today’s judgment, but pursuant
     to 18 U.S.C. 3664(d)(5) defer a final determination of
     victims’ losses for a period of no more than 90 days,
     and we intend to submit further information on the
     proper amount.

     Additionally, during the sentencing proceeding, defense

counsel asked the Court to impose a sentence of home confinement

or, at most, only a short period of incarceration.         As part of

defense counsel’s argument, defense counsel stated:

     In the financial fraud context in particular, as your
     Honor knows, a severe or substantial period of
     incarceration is not needed to promote general
     deterrence. Here, there is a $22 million forfeiture
     order and there will likely be millions of dollars in
     restitution that Mr. Velissaris will have to comply
     with. This forfeiture amount alone serves as a
     general deterrent to anyone considering this type of
     activity that it’s not worth it, as any alleged ill-
     gotten gains will be taken away.




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(Emphasis supplied.)     The Court sentenced the defendant

principally to a term of 180 months’ imprisonment. 2         The Court

also ordered the parties to submit a letter by June 2 indicating

whether they had agreed on the appropriate restitution amount

and, if not, proposing a schedule for resolving any disputes

with respect to the amount.

      The parties did not agree on the amount of restitution.

Instead, the Government submitted a letter on June 13 in support

of DAF’s and VAF’s proposed restitution amounts, and on June 20

the defendant submitted a response objecting to restitution.

      On June 27, the Court ordered that restitution would be

entered in this case, with the final amount of restitution to be

determined at a later date.      The issue of the proper amount of

restitution will be fully briefed on July 28.

II.   The Victims’ Losses

      The Government seeks restitution on behalf of two victims

of Velissaris’s scheme, the DAF and the VAF.         The SLC of TAP

submitted two letters, dated March 30 and April 6, in support of

restitution for the DAF.     Infinity Q submitted a letter, dated

May 30, in support of restitution for the VAF.         This section




2 The applicable sentencing guidelines range for the defendant
was 324 to 405 months’ imprisonment, and the statutory maximum
was 240 months’ imprisonment.

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describes the two Funds and their losses, as articulated in

these three letters.

     A.      DAF

     The DAF was formed in September 2014 as a series of TAP.

Infinity Q advised the DAF and was principally responsible for

its day-to-day management during the relevant period.            The DAF

paid Infinity Q an annual management fee equivalent to 1.70% of

the DAF’s average daily net assets.

     In late February of 2021, Infinity Q informed the DAF that

Velissaris had mismarked the value of several of the Fund’s OTC

derivative positions and that, as a result, Infinity Q could not

verify the reasonableness of the previously reported value of

those positions, nor could it calculate a current NAV for the

Fund.     On February 22, Infinity Q and TAP filed an application

with the SEC to suspend shareholder redemptions in the DAF as of

February 19.       The application was granted the same day.        See

Notice of Application and Temporary Order, Investment Company

Act Release No. 34,198, 86 Fed. Reg. 11,815 (Feb. 22, 2021) (the

“SEC Order”).

     The SEC Order required TAP to create a plan for liquidating

the DAF’s assets (the “Liquidation Plan”) and a plan for making

payments to current and former DAF shareholders (the

“Distribution Plan”).       Id. at 11,816.     The Liquidation Plan and



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the Distribution Plan were both to be submitted to and executed

under the supervision of the SEC.       Id.   The SEC Order also

required TAP, on behalf of the DAF, to “engage an independent

third party to assist in determining the fair value of” the

DAF’s OTC positions “and any other Fund holdings for which

current and reliable market quotations are not readily

available, including re-evaluating the historical valuations of

the Fund.”   Id.

     Consistent with the SEC Order, the TAP Board retained

Russell Investments Implementation Services, LLC (“RIIS”) to

assist in the liquidation of assets held by the DAF that were

not already in cash or cash equivalents as of the entry of the

SEC Order.   DAF paid RIIS roughly $850,000 in fees for its

liquidation services.

     The Board also retained Alvarez & Marsal Valuation

Services, LLC (“A&M”) to reevaluate the DAF’s February 18, 2021

NAV and historical valuations, again consistent with the SEC

Order.   A&M’s analysis revealed that the DAF’s OTC derivative

positions were overstated at each month-end date from February

2017 to January 31, 2021.     The DAF paid A&M about $1,573,882 in

fees for its reevaluation services.       It also paid $450,000 for a

license to the BVAL tools used by A&M in its reevaluation.




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     Finally, in connection with the TAP Board’s efforts to

create the Distribution Plan as required by the SEC Order, the

Board engaged Cornerstone Research (“Cornerstone”).          Cornerstone

developed estimates of the amounts that the DAF may be liable to

pay in damages in pending securities class actions.          It also

calculated the pro rata amounts that needed to be distributed to

each shareholder as part of the Distribution Plan.         In November

2021, the DAF finalized the Distribution Plan and distributed

roughly $500 million to shareholders.       In April 2022, the DAF

distributed roughly $170 million more.       After these two

distributions, the DAF held about $570 million to satisfy its

liabilities.   The DAF paid Cornerstone approximately $2,288,416

in connection with its services relating to the distribution of

the DAF’s assets.

     Although Velissaris’s conduct caused substantial losses to

a significant number of investors and ultimately forced the DAF

into liquidation, certain shareholders who had fully redeemed

their shares at inflated NAVs were overpaid by the DAF.          Using

A&M’s reevaluated NAVs for the DAF, Cornerstone calculated the

DAF’s overpayments to such shareholders, as well as overpayments

the DAF made to Infinity Q in management fees.         Cornerstone

determined that the DAF overpaid by $46,482,819 those

shareholders who had fully redeemed their shares at inflated


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NAVs, and paid $7,485,202 in excess management fees to Infinity

Q.

     Based on the above, the DAF seeks restitution to cover:

(1) $46,482,819 in overpayments to former shareholders,

(2) $7,485,202 in excess management fees paid to Infinity Q,

(3) $850,000 in payments to RIIS in connection with their

liquidation services, (4) $1,573,882 in payments to A&M for

their reevaluation services, (5) $2,288,416 in payments to

Cornerstone in connection with the distribution of the DAF’s

assets, and (6) $450,000 for the BVAL license used by A&M in the

reevaluation.   The DAF also seeks $21,926 in attorneys’ fees

related to their restitution application. 3       In total, the DAF

seeks $59,152,245.00.

     B.   VAF

     The VAF was another Fund managed by Infinity Q.          Like the

DAF, the VAF paid management fees to Infinity Q.         It also paid

additional amounts based on performance of the VAF.

     The losses claimed by the VAF are similar to those claimed

by the DAF.   Like the DAF, the VAF retained an independent

valuation expert, IHS Markit (“Markit”), to revalue the OTC




3 In its April 6 letter, the DAF originally calculated attorneys’
fees at $18,874. It later provided invoices to the Government
indicating that the correct amount of its requested attorneys’
fees was $21,926.

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derivative positions held by the VAF in the relevant time.              It

used NERA Economic Consulting (“NERA”) to revalue the entire VAF

portfolio on a monthly basis and recalculate the management

fees, performance allocations, and other fees and expenses based

on Markit’s revised NAV.     As noted above, even though

Velissaris’s conduct caused significant losses to many

investors, certain Limited Partners in the VAF were overpaid due

to inflated valuations.     Based on the calculations by Markit and

NERA, the VAF determined that it overpaid these investors

$18,880,319.12, 4 and that it overpaid Infinity Q $26,576,945.89

in various fees.   The VAF seeks these amounts in restitution and

also seeks $844,067.05 in fees paid to Markit.

     Finally, the VAF seeks certain legal expenses.

Specifically, it seeks: $20,235,496.29 in legal fees, which the

VAF was required to advance, for Velissaris’s criminal defense;

$514,315 in legal fees for Government witness Scott Lindell,

which were incurred due to Lindell’s participation in the

prosecution; and $79,182.67 in legal fees for other Infinity Q

employees who were interviewed by the Government and prepared to

testify against Velissaris.


4 The VAF noted in its May 30 letter that an SEC action against
Infinity Q will designate a monitor for Infinity Q to develop a
plan for distributing the VAF’s assets. This plan may allow the
VAF to reduce distributions to certain investors to offset the
overpayments.

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     In summary, the VAF seeks restitution to cover:

(1) $26,573,945.89 in excess fees paid to Infinity Q,

(2) $18,880,319.12 in overpayments to Limited Partners,

(3) $20,235,496.29 in Velissaris’s legal fees, (4) $514,315.00

in Lindell’s legal fees, (5) $79,182.67 in legal fees for other

Infinity Q employees interviewed by the Government, and

(6) $844,067.05 in payments to Markit.       In total, the VAF seeks

$67,129,126.02.


                               Discussion

     For the reasons that follow, restitution to the DAF and to

the VAF is appropriate.     This section addresses two threshold

issues -- whether the Court has authority to order restitution

and whether restitution is impracticable in this case -- before

proceeding to consider the appropriate amount of restitution.

I.   Authority to Order Restitution

     The Court has authority under 18 U.S.C. § 3663(a)(3) and

the Plea Agreement to order Velissaris to pay restitution.

“[F]ederal courts have no inherent power to order restitution

but only such authority as is conferred by Congress through

statute.”   United States v. Pescatore, 637 F.3d 128, 139 (2d

Cir. 2011) (citation omitted).      One such statute, the Victim and

Witness Protection Act (“VWPA”), provides in pertinent part that

a federal court may “order restitution in any criminal case to


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the extent agreed to by the parties in a plea agreement.”             18

U.S.C. § 3663(a)(3).      Likewise, the Mandatory Victims

Restitution Act (“MVRA”) allows parties to stipulate to

restitution in a plea agreement in at least some circumstances.

See 18 U.S.C. § 3663A(a)(3), (c)(2).

       Plea agreements, however, “are construed strictly against

the government.”     United States v. Gottesman, 122 F.3d 150, 152

(2d Cir. 1997).     Thus, when a court orders restitution based on

a plea agreement, “the court can order restitution only in an

amount not to exceed that agreed upon by the parties” and “can

order restitution only if the parties agreed that a court may do

so.”    Id.

       The Court has authority to order restitution here.

Velissaris, in his Plea Agreement, agreed “to make restitution

in an amount ordered by the Court, pursuant to Title 18, United

States Code, Sections 3663, 3663A, and 3664” and acknowledged

that a payment plan for such restitution would be “set by the

Court.”    Thus, it is clear that the parties agreed that (1) the

amount of restitution would be set by the Court using the

guidelines and procedures set by 18 U.S.C. §§ 3663, 3663A, and

3664, and (2) that this Court could order restitution.            Indeed,

Velissaris’s own counsel acknowledged this agreement when,

during the sentencing proceeding, defense counsel relied on


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Velissaris’s expected restitution to argue that a lower period

of incarceration was warranted.

     The defendant relies heavily on the Second Circuit’s

unpublished opinion in United States v. Rendon-Reyes, No. 20-

446, 2023 WL 3332553 (2d Cir. May 10, 2023), to argue that the

Court lacks authority to order restitution. 5       But Rendon-Reyes

does not mandate a different result.       In that case, “[t]he

district court and both parties believed that restitution was

mandatory under” either the MVRA or another statute.          Id. at *1

(emphasis added).    Additionally, although the Rendon-Reyes Court

noted that the MVRA allows parties to stipulate to restitution

in a plea agreement, it was “undisputed that Rendon-Reyes’s plea

agreement included no such provision.”       Id. at *2.    Thus, the

lower court imposed restitution not because the defendant agreed

to it in his plea agreement, but because that court and the

parties were under the mistaken impression that restitution was

legally mandated.    Here, by contrast, there is no such

confusion.   Regardless of the specific crimes otherwise covered

by the MVRA or the VWPA, 6 restitution is proper because the



5 Under the Second Circuit’s Local Rule 32.1.1(a), “[r]ulings by
summary order do not have precedential effect.”

6 Because the parties agreed in the Plea Agreement that the
defendant would make restitution, it is unnecessary to decide if
the Court independently has authority to order restitution under

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defendant “agree[d] to make restitution in an amount ordered by

the Court.”

II.   Impracticability

      The defendant also contends that awarding restitution in

this case is excessively impracticable.        It is not.

      The MVRA provides in relevant part that, for at least

certain offenses, restitution is inapplicable if the court finds

that “the number of identifiable victims is so large as to make

restitution impracticable” or that “determining complex issues

of fact related to the cause or amount of the victim’s losses

will complicate or prolong the sentencing process to a degree

that the need to provide restitution to any victim is outweighed

by the burden on the sentencing process.”         18 U.S.C.

§ 3663A(c)(3).    Granting restitution is not impracticable in

this case.

      First, there are not too many identifiable victims to make

restitution impracticable -- indeed, there are only two seeking

restitution.    Second, there are no complex issues of fact

relating to the cause or amount of these two victims’ losses.

Most of the claimed losses reflect overpayments to shareholders

and Infinity Q due to Velissaris’s manipulations of the BVAL




the VWPA or the MVRA based on the crime to which Velissaris pled
guilty.

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tools.   The VAF and the DAF each engaged independent valuation

experts to calculate the extent of these overpayments.          The

remainder of the claimed losses simply reflect expenses paid to

various service providers.     Thus, determining the extent of

these losses does not embroil the Court in complex factual

questions, and ordering restitution is not impracticable.

     To argue otherwise, the defendant relies on the statements

in the PSR explaining that because “the offense involved dozens

of investors in the Hedge fund and likely thousands in Mutual

fund,” the Government originally found that “it would be

impractical to seek restitution in light of the parallel

liquidation of funds being overseen by the SEC and other

entities,” and that “seeking restitution could create

inconsistencies with the liquidation proceedings.”         But after

the PSR was created, the Government received the first letter

from the DAF and decided to seek restitution on its (and later

the VAF’s) behalf.    Seeking restitution on behalf of the two

Funds (instead of on behalf of individual investors) solves the

problems of impracticability identified in the PSR.          Rather than

seek restitution on behalf of thousands of investors -- which

could create complexities and inconsistencies with parallel

liquidation proceedings -- the Government seeks restitution for




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the Funds themselves, which, in turn, can reimburse individual

investors.

III. Restitution Amounts

     Having resolved the threshold questions about the propriety

of ordering restitution in this case, it is appropriate to

identify the victims to which the defendant must make

restitution and the amount of such restitution.         Restitution is

appropriate for any “victim” of the defendant’s offense of

conviction.    18 U.S.C. §§ 3663(a)(1)(A); 3663A(a)(1).        For the

purposes of restitution, a “victim” is “a person directly and

proximately harmed as a result of the commission of an offense

for which restitution may be ordered.”         Id. at §§ 3663(2);

3663A(2).    This language imposes cause-in-fact and proximate

cause requirements.    United States v. Goodrich, 12 F.4th 219,

229 (2d Cir. 2021).    To satisfy the cause-in-fact requirement,

“the defendant’s conduct must have been a necessary factor in

bringing about the victim’s harm.”       Id.    Regarding proximate

cause, “[t]he basic question . . . is whether the harm alleged

has a sufficiently close connection to the conduct,” which

courts evaluate based on whether the harm was “foreseeable” to a

defendant.    Id. (citation omitted).

     For offenses “resulting in damage to or loss or destruction

of property of a victim,” a court may require that the defendant



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“return the property” taken or its value and “reimburse the

victim for . . . other expenses incurred during participation in

the investigation or prosecution of the offense or attendance at

proceedings related to the offense.”       18 U.S.C. §§ 3663(b)(1),

(4); 3663A(b)(1), (4).      Such “other expenses” may include

attorneys’ fees that a victim was “required to incur to advance

the investigation or prosecution of the offense,” but “only

criminal investigations -- not private investigations, and not

civil enforcement investigations -- qualify.”         United States v.

Afriyie, 27 F.4th 161, 173 (2d Cir. 2022).

     “[R]estitution may be awarded only in the amount of losses

directly and proximately caused by the defendant’s conduct.”

United States v. Gushlak, 728 F.3d 184, 194-95 (2d Cir. 2013)

(emphasis omitted).    A district court need make only a

“reasonable approximation” of the amount of loss suffered by a

victim.    Id. at 195-96.    “Any dispute as to the proper amount or

type of restitution shall be resolved by the district court by

the preponderance of the evidence.”       Afriyie, 27 F.4th at 165–66

(citation omitted).    The Government bears the “burden of

demonstrating the amount of the loss sustained by a victim as a

result of the offense.” 18 U.S.C. § 3664.

     The DAF and the VAF are both “victims” of Velissaris’s

conduct.    Due to Velissaris’s conduct, both Funds overpaid


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shareholders for certain OTC derivative positions that were

marked at an artificially inflated value.        Similarly, because

Velissaris’s alterations inflated the Funds’ NAV, both Funds

paid excessive fees to Infinity Q.       And, both Funds needed to

enlist the help of various third-party service providers to

unwind the damage done by Velissaris’s actions and to spend

certain amounts in legal fees in connection with Velissaris’s

criminal prosecution.    Accordingly, the Funds were both directly

and proximately harmed by Velissaris’s conduct and are therefore

victims for the purposes of restitution.        Indeed, Velissaris

does not argue otherwise.

     Because Velissaris’s scheme involved the loss of property

to the Funds, it is appropriate to order Velissaris to return

the value of the Funds’ losses and to reimburse the Funds for

necessary expenses incurred during the Funds’ participation in

the criminal investigation and prosecution of Velissaris.           The

Funds’ claims for restitution may be sorted into three major

groups -- overpayments to shareholders and Infinity Q, fees for

third-party service providers, and legal fees.         Each of these

categories is addressed below.

     A.   Overpayments to Shareholders and Infinity Q

     The bulk of the victims’ requested restitution consists of

overpayments that the Funds made to Infinity Q and to certain



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shareholders who, unlike many others, redeemed their shares at

inflated valuations.    Specifically, the DAF seeks $46,482,819 in

overpayments to certain former shareholders and $7,485,202 in

excess management fees to Infinity Q; the VAF seeks

$18,880,319.12 in overpayments made to certain former

shareholders and $26,573,945.89 in excess management fees and

performance allocations to Infinity Q.       To arrive at these

amounts, the DAF used A&M to reevaluate the DAF’s historic NAVs

using BVAL and then relied on Cornerstone to calculate

overpayments to shareholders and Infinity Q based on A&M’s

reevaluations.   The VAF relied on Markit to reevaluate its NAVs

and on NERA to calculate its overpayments.        Each of these

entities is a reputable, independent third party, and the

results they obtained reasonably approximate the Funds’ losses.

Accordingly, the defendant shall return these amounts to the

Funds.

     To argue that he should not be liable for these amounts,

the defendant largely rehashes an argument that he has made

throughout this case, namely, that the loss calculations rely in

part on BVAL, and BVAL is an unreliable valuation tool.          But for

the reasons explained repeatedly in various Opinions in this

litigation, whether BVAL is a reliable tool is largely

immaterial.   The defendant chose to value the OTC derivative


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positions using BVAL and represented to investors that he would

do so without substantive input from Infinity Q.         Secretly,

however, he manipulated the inputs to BVAL to inflate the value

of certain securities with the intent to defraud investors.

Thus, revaluing the securities by using BVAL without fraudulent

alterations is a reasonable method of approximating the losses

caused by the defendant’s fraud.

     The defendant also argues that the VAF’s loss calculations

are not the same as those of the Government’s proffered trial

witness, Dr. Faten Sabry of NERA, and are therefore unreliable.

This argument misunderstands the nature of Dr. Sabry’s work.

She did not address the amount owed in restitution.          The

Government retained Dr. Sabry to catalogue and quantify “certain

aspects of the fraud” and to use BVAL in order to present “two

forms of ‘but-for’ testimony.”      It expected that the testimony

would help the jury understand how events “would have played out

had the defendant followed his representations and not engaged

in fraud.”   Dr. Sabry was guided by specific instructions from

the Government concerning the tasks to undertake and on what

documents she could rely.     Additionally, Dr. Sabry’s report

stressed that the work she performed used “conservative

criteria.”   Thus, there is no inconsistency between Dr. Sabry’s

calculations, meant to illustrate the defendant’s fraudulent


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behavior for a jury, and the VAF’s calculations of its actual

losses.    Nothing in the law requires a court to limit the amount

of restitution to what was established through evidence

submitted at trial, or prepared for that purpose.

     B.     Third-Party Service Provider Fees

     The next category of expenses consists of fees the Funds

paid to third-party service providers to remedy the damages

caused by the defendant’s fraudulent conduct.         Specifically, the

DAF seeks $850,000 in payments to RIIS, $1,573,882 in payments

to A&M, $2,228,416 in payments to Cornerstone, and $450,000 in

payments to Bloomberg; the VAF seeks $844,067.05 in payments to

Markit.

     Restitution in these amounts is proper.        Each of these

amounts was directly and proximately caused by the defendant’s

conduct.    Because of the defendant’s fraudulent scheme, the

Funds’ NAVs were overstated.      As a result, the DAF and the VAF

needed to engage third-party service providers to assist with

various remedial measures including reevaluating historical NAVs

and (for the DAF) distributing assets in liquidation.          These

remedial measures were necessary only because of Velissaris’s

scheme.    And, that the Funds would need to take such remedial

measures once the scheme was uncovered was entirely foreseeable

for Velissaris.    Accordingly, the losses incurred in engaging



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these third-party service providers are properly included in the

restitution amount.

     The defendant challenges the inclusion of these amounts.

He contends that these losses could be part of the restitution

award only if they were “other expenses” incurred in connection

with the criminal investigation or prosecution.         He continues

that since these losses were not incurred as part of the

investigation or prosecution, they are not compensable.          The

defendant notes that many of the fees paid by the DAF were made

in connection with the SEC Order.

     These arguments fail.     The fees paid to service providers

in connection with reevaluating the Funds’ assets and

liquidating the DAF’s assets are losses flowing directly and

proximately from the defendant’s conduct.        That is, the fees are

not merely expenses associated with a criminal proceeding; they

are part of the losses caused by Velissaris’s scheme.

Accordingly, it is irrelevant whether they were incurred in

connection with the investigation or prosecution of Velissaris.

     C.   Attorneys’ Fees

     The final amounts sought by the Funds consist of attorneys’

fees paid in connection with the criminal prosecution.

Specifically, the DAF seeks $21,926.00 in legal fees incurred in

the restitution application; the VAF seeks $20,235,496.29 in



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legal fees for Velissaris’s criminal defense through his guilty

plea and sentencing, $514,315 in legal fees for Scott Lindell (a

Government witness), and $79,182.67 in legal fees for other

Infinity Q employees who were interviewed by the Government and

prepared to testify against Velissaris.

     These amounts are appropriately included in a restitution

order.   Attorneys’ fees incurred in connection with a criminal

investigation or prosecution may be included in a restitution

order as necessary expenses.      Afriyie, 27 F.4th at 173.      This

includes fees that were incurred “during the post-verdict

restitution proceedings.”     Id.    Contrary to the defendant’s

argument, it also includes fees for private counsel’s

preparation of prosecution witnesses.       Id.   The fees requested

here were necessary expenses.       The DAF needed to incur legal

fees during the restitution proceedings to ensure it received

the restitution to which it was entitled, and the VAF’s legal

fees were required under the VAF’s Limited Partnership

Agreement.   Accordingly, these fees are appropriately included

in the total restitution amount.

     The defendant contends that some of the requested fees are

excessive.   The objections to the amount of the fees will be

addressed in a separate order.




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     D.   Offsets for Civil Settlements

     Finally, the defendant notes that at least some of the

investors in the DAF and the VAF are the same as those in one of

the civil cases filed against Velissaris, in which a settlement-

in-principle has been reached.      He contends that these investors

should not be entitled to double recovery.

     At this stage, this argument is mere speculation and is not

a reason to reduce the restitution amount.        Indeed, “[i]n no

case shall the fact that a victim has received or is entitled to

receive compensation with respect to a loss from insurance or

any other source be considered in determining the amount of

restitution.”   18 U.S.C. § 3664(f)(1)(B).       Of course, “[a]ny

amount paid to a victim under an order of restitution shall be

reduced by any amount later recovered as compensatory damages

for the same loss by the victim” in a civil proceeding.          Id.

§ 3664(j)(2).   But the defendant has not shown that either of

the Funds has yet recovered its losses through a civil

proceeding.   He also points to no authority suggesting that it

is appropriate to reduce a restitution order preemptively for

amounts that a victim may one day recover.


                               Conclusion

     The defendant shall pay restitution to the DAF and to the

VAF as set forth above.     The defendant’s objections regarding


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